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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                          Case No. 17-80499-CIV-ROSENBERG/HOPKINS


   COMPULIFE SOFTWARE, INC.,

                          Plaintiff,

   vs.


   ONE RESOURCE GROUP CORP., et al.,

                     Defendants.
   _____________________________________/

          ORDER GRANTING AGREED MOTION FOR ENTRY OF STIPULATED
               PROTECTIVE ORDER, (DE 120), WITH AMENDMENTS

          THIS CAUSE is before this Court upon referral from the District Judge. (DE 12). Before

   this Court is the parties’ Agreed Motion for Entry of Stipulated Protective Order. (DE 120).

          Federal Rule of Civil Procedure 26(c)(1)1 “allows the issuance of a protective order if

   good cause is shown.” McCarthy v. Barnett Bank of Polk Cty., 876 F.2d 89, 91 (11th Cir. 1989)

   (quotation omitted). Even where the parties agree that a protective order should be entered, “the

   district court must independently determine if good cause exists.” Jepson, Inc. v. Makita Elec.

   Works, Ltd., 30 F.3d 854, 858 (7th Cir. 1994) (quotation omitted).           “Courts have ‘broad

   discretion’ to decide when a protective order is appropriate and what degree of protection is

   required.” Wreal LLC v. Amazon.Com, Inc., No. 14-21385-CIV, 2014 WL 7273852, at *3 (S.D.

   Fla. Dec. 19, 2014) (quoting Seattle Times Co. v. Rhinehart, 467 U.S. 20, 36 (1984)). However,

   1
     FED. R. CIV. P. 26(c)(1) provides in pertinent part: “The court may, for good cause, issue an
   order to protect a party or person from annoyance, embarrassment, oppression, or undue burden
   or expense, including one or more of the following: . . . (G) requiring that a trade secret or other
   confidential research, development, or commercial information not be revealed or be revealed
   only in a specified way.”
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   “[a] district court must articulate its reasons for granting a protective order sufficient for

   appellate review.” In re Alexander Grant & Co. Litig., 820 F.2d 352, 355 (11th Cir. 1987).

          The parties assert that this case will involve the discovery of “trade secrets or confidential

   research and development or commercial information.” (DE 120-1 at 1). Courts routinely enter

   agreed protective orders to protect such confidential information. See, e.g., Air Turbine Tech.,

   Inc. v. Atlas Copco Tools & Assembly Sys. AB, No. 01-8288-CIV, 2003 WL 26083689, at *1

   (S.D. Fla. Sept. 26, 2003) (referencing agreed protective order entered to “preserve the

   confidentiality of the parties' business and/or technical information”). This Court finds good

   cause for entering the proposed Stipulated Confidentiality and Protective Order, with minor

   amendments.

          First, the second sentence of paragraph 5 is amended to replace “will” with “may”.

   Second, section c of paragraph 7 is removed.2 The Court will not designate burdens in advance.

   Third, paragraph 16 is amended to replace “under seal as provided for in the Local Rules,

   Southern District of Florida” with “in accordance with Southern District of Florida Local Rule

   5.4.” This Order does not, by itself, authorize the filing of any document under seal. Fourth, the

   first full sentence of paragraph 19 is amended to read: “Pursuant to Federal Rule of Evidence

   502(b), inadvertent production of documents or information subject to attorney-client privilege

   or work-product immunity shall not constitute a waiver of such privilege(s).”3 Federal Rule of

   Evidence 502 applies only to attorney-client privilege and work-product protection. See Fed. R.



   2
     That section read: “In any such proceeding, the Party opposing disclosure to Designated Expert
   shall bear the burden of proving that the risk of harm that the disclosure would entail (under the
   safeguards proposed) outweighs the Receiving Party’s need to disclose the Protected Material to
   its Designated Expert.”
   3
     That sentence read: “Inadvertent production of documents or information subject to the
   attorney-client privilege, work-product immunity, or any other applicable privilege or immunity
   shall not constitute a waiver of such privilege(s).”
                                                    2
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   Evid. 502 (stating that “[t]he following provisions apply, in the circumstances set out, to

   disclosure of a communication or information covered by the attorney-client privilege or work-

   product protection) (emphasis added); Fed. R. Evid. 502 Advisory Committee Explanatory

   Note, Subdivision (g) (“The rule's coverage is limited to attorney-client privilege and work

   product.”).

          With these amendments, the parties’ Agreed Motion for Entry of Stipulated Protective

   Order (DE 120) is GRANTED and the proposed Stipulated Confidentiality and Protective Order

   (DE 120-1) is hereby APPROVED. An amended version of the parties’ Stipulated

   Confidentiality and Protective Order follows this Order.


          DONE AND ORDERED in Chambers this 30th day of November, 2017, at West Palm

   Beach in the Southern District of Florida.




                                                       JAMES M. HOPKINS
                                                       UNITED STATES MAGISTRATE JUDGE
   Copies to:
   Counsel of Record




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               STIPULATED CONFIDENTIALITY AND PROTECTIVE ORDER

          Defendants, One Resource Group Corporation, Anthony Wilson, and Todd Stewart, and
   American Web Designers, Ltd. (collectively “Defendants”) and Plaintiff, Compulife Software,
   Inc., by their respective undersigned counsel, enter into this stipulation for the entry of a
   Confidentiality and Protective Order (“Protective Order”) as of the dates set forth below.
          1.      The parties agree, and the Court finds, that the parties to this case may request or
   produce information involving, without limitation, trade secrets or confidential research and
   development or commercial information, the disclosure of which may cause harm, including
   competitive economic harm, to the Party producing such information.
          2.      Upon receipt of any request for documents by the parties to this Protective Order,
   the producing party shall provide said documents to the requesting party in compliance with the
   Federal Rules of Civil Procedure, subject to any objections or claims of privilege based on trade
   secret or confidential. If any document required to be produced is deemed to be confidential or
   trade secret by producing party, then the producing party shall clearly mark such documents or
   groups of documents “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL-ATTORNEY’S
   EYES ONLY” at the time the documents are produced. The parties hereto shall mark only those
   documents as CONFIDENTIAL or “HIGHLY CONFIDENTIAL-ATTORNEY’S EYES
   ONLY” that it has a reasonable and good faith belief are, in fact, confidential and require
   continued confidentiality. The parties agree and acknowledge that documents containing trade
   secret, proprietary, commercially sensitive, private or personal information (including Social
   Security Numbers, dates of birth and account numbers) may reasonably and in good faith be
   marked confidential.
          3.      The parties to this Protective Order agree that all documents marked
   CONFIDENTIAL may not be disclosed to the public or made a part of the Court file except as
   provided herein. The party who receives documents marked CONFIDENTIAL shall take all
   necessary precautions with regard to storage, custody and use of such materials to prevent its
   unauthorized or inadvertent disclosure.
          4.      Documents marked CONFIDENTIAL may be disclosed only to:
                  a.      The Parties to this action;
                  b.      Counsel to the parties to this Protective Order, along with their employees,
   consultants and agents;

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                   c.      Any court of competent jurisdiction involved in any litigation related to
   this case, as well as court personnel;
                   d.      Any deposition or trial witness where such is necessary to the testimony
   of such witness; and
                   e.      Experts, investigators and consultants retained by a party for the purpose
   of assisting in this action and their employees, consultants, agents and counsel to whom it is
   reasonably necessary to disclose the information for this litigation and who have signed the
   “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A.
           5.     Upon receipt of any documents marked CONFIDENTIAL by the producing
   party, or at any time thereafter, the requesting party may challenge the validity or necessity of
   the claim of confidentiality. Such challenges may be resolved by the Court, upon motion by the
   challenging party. Unless and until such a challenge to the confidential status of any document is
   resolved, all parties hereto shall maintain the confidentiality of any documents so marked. If the
   Court determines that the claim of confidentiality is invalid or unnecessary, then the parties
   hereto shall be relieved any and all obligations to maintain the confidentiality of such
   documents.
           6.      “HIGHLY CONFIDENTIAL-ATTORNEY’S EYES ONLY” information is
   extremely sensitive Confidential Information that a party believes to be in the nature of
   trade secrets, proprietary commercial information, or competitive business information that
   includes, without limitation, a Person’s highly sensitive personal, financial, business,
   process, operational, technical or development information that, if disclosed to another party
   or a nonparty, would create a substantial risk of injury (including without limitation economic
   or competitive injury). All of the provisions of this Protective Order also apply to documents that
   are marked “HIGHLY CONFIDENTIAL-ATTORNEY’S EYES ONLY” with the exception that
   documents marked with “HIGHLY CONFIDENTIAL-ATTORNEY’S EYES ONLY” may only
   be disclosed to:
                   a.      the Receiving Party’s Outside Counsel of Record in this action, as well as
   employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose the
   information for this litigation;
                   b.      Experts of the Receiving Party (1) to whom disclosure is reasonably
   necessary for this litigation, (2) who have signed the “Acknowledgment and Agreement to Be

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   Bound” (Exhibit A), and (3) as to whom the procedures set forth in paragraph 7 below, have
   been followed;
                    c.     the court and its personnel;
                    d.     court reporters and their staff, professional jury or trial consultants, and
   Professional Vendors to whom disclosure is reasonably necessary for this litigation and who
   have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A); and
                    e.     the author or recipient of a document containing the information or a
   custodian or other person who otherwise possessed or knew the information.
          7.        A Party that seeks to disclose to an Expert any information or item that has been
   designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” first must (1) provide
   the “Acknowledgment and Agreement to Be Bound” signed by the Expert that is attached hereto
   as Exhibit A, and (2) refer to or attach a copy of the Expert’s current CV.
                    a.     A Party that makes a request and provides the information specified in the
   preceding respective paragraph may disclose the subject Protected Material to the identified
   Designated Expert unless, within 7 days of delivering the request, the Party receives a written
   objection from the Designating Party. Any such objection must set forth in detail the grounds on
   which it is based.
                    b.     A Party that receives a timely written objection must meet and confer with
   the Designating Party (through direct voice to voice dialogue) to try to resolve the matter by
   agreement within seven days of the written objection. If no agreement is reached, the Party
   seeking to make the disclosure to Designated Expert may file a motion seeking permission from
   the court to do so. Any such motion must describe the circumstances with specificity, set forth in
   detail the reasons why the disclosure to Designated Expert is reasonably necessary, assess the
   risk of harm that the disclosure would entail, and suggest any additional means that could be
   used to reduce that risk. In addition, any such motion must be accompanied by a competent
   declaration describing the parties’ efforts to resolve the matter by agreement (i.e., the extent and
   the content of the meet and confer discussions) and setting forth the reasons advanced by the
   Designating Party for its refusal to approve the disclosure.
          8.        Nothing in this Protective Order shall be construed to limit or prohibit the use of
   any documents marked “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL-ATTORNEY’S
   EYES ONLY” in any Court proceeding in this action, including the use of such materials at

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   depositions, hearings, trial and all other Court proceedings. Additionally, the parties agree and
   acknowledge that documents marked “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL-
   ATTORNEY’S EYES ONLY” may be used by experts, investigators, consultants and other
   persons working on behalf of the parties or counsel for the parties to review, analyze or
   investigate any issues related to this action, provided such person agrees to abide by the terms of
   this Protective Order as evidenced by his or her signature or the form annexed hereto as Exhibit
   A.
          9.       Documents        inadvertently     disclosed    without   being     designated    as
   CONFIDENTIAL         may       thereafter   be    designated   “CONFIDENTIAL”        or   “HIGHLY
   CONFIDENTIAL-ATTORNEY’S EYES ONLY” by promptly notifying the requesting party
   such documents in writing. The party receiving shall thereafter treat documents so identified as
   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL-ATTORNEY’S EYES ONLY”. If timely
   corrected, an inadvertent failure to designate qualified information or items does not, standing
   alone, waive the Designating Party’s right to secure protection under this Order for such
   material. Upon timely correction of a designation, the Receiving Party must make reasonable
   efforts to assure that the material is treated in accordance with the provisions of this Order.
          10.      If any party to this case receives from a third party a subpoena, discovery request
   or   other     demand    for     documents       designated    “CONFIDENTIAL”        or   “HIGHLY
   CONFIDENTIAL-ATTORNEY’S EYES ONLY” in this case, the parties receiving the
   subpoena, discovery request or other demand for designated documents shall take the steps they
   deem reasonably necessary to preserve the confidentiality of the documents and shall
   immediately notify the party who designated the documents that they received such a demand
   and shall reasonably cooperate with the party who designated the documents as confidential in
   seeking a protective order or other limitation by the Court on disclosure of the designated
   Information.
          11.      The agreement to keep certain documents confidential pursuant to the Protective
   Order shall not be construed as an acknowledgment that such documents are confidential, and
   the agreement to maintain confidentiality shall not be offered or used to support a position that
   the documents are in fact confidential.
          12.      Nothing contained in this Protective Order shall affect the right of any party to
   make any objection, claim any privilege, or otherwise contest any request for production of

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   documents, interrogatory, request for admission, subpoena, or question at a deposition or to seek
   further relief or protective order from the Court as permitted by the Federal Rules of Civil
   Procedure. Nothing in this Protective Order shall affect any right of any party to redact
   information or materials for privilege, relevancy or privacy reasons. Nothing in this Protective
   Order shall constitute an admission or waiver of any claim or defense by any party.
          13.     This Protective Order shall not be construed to apply to any information or
   materials that: (a) are available to the public other than through a breach of this Protective Order
   or other duty of confidentiality; (b) a receiving party can demonstrate was already known to the
   receiving party at the time of disclosure and were not subject to conditions of confidentiality; or
   (c) a receiving party can demonstrate were developed by that receiving party independently of
   any disclosure by a designating party or nonparty.
          14.     This Protective Order shall remain in full force and effect unless modified by
   written stipulation of counsel for the parties or by the Court. This Protective Order shall be
   binding upon the parties hereto, their designated officers, successors and assigns, and any
   individual who executes Exhibit A.
          15.     Any party may apply to the Court for modification of this Protective Order,
   including but not limited to a challenge to the status of any documents marked
   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL-ATTORNEY’S EYES ONLY” at any
   time. However, any party may remove a “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL-
   ATTORNEY’S EYES ONLY” designation made by that party without leave of Court at any
   time upon written notice to opposing counsel.
          16.     If   any   documents      designated   as   “CONFIDENTIAL”          or    “HIGHLY
   CONFIDENTIAL-ATTORNEY’S EYES ONLY” are filed with a Court, such material shall be
   filed in accordance with Southern District of Florida Local Rule 5.4.
          17.     Within twenty-eight (28) days of the termination of the case and upon written
   notice by the designating party, all Information designated as “CONFIDENTIAL” or
   “HIGHLY CONFIDENTIAL-ATTORNEY’S EYES ONLY” and all copies, summaries, or
   extracts thereof, including in electronic form, shall be destroyed, and a written certificating by
   the receiving party shall be provided.
          18.     Inadvertent Disclosure of Protected Information: To the extent consistent with
   applicable law, the inadvertent or unintentional disclosure of Confidential or Highly

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   Confidential material that should have been designated as such, regardless of whether the
   information, document or thing was so designated at the time of disclosure, shall not be
   deemed a waiver in whole or in part of a Party’s claim of confidentiality, either as to the
   specific information, document or thing disclosed or as to any other material or information
   concerning the same or related subject matter. Such inadvertent or unintentional disclosure
   may be rectified by notifying in writing counsel for all Parties to whom the material was
   disclosed that the material should have been designated Confidential Information or Highly
   Confidential-Attorneys’ Eyes Only Information within a reasonable time after disclosure.
   Such notice shall constitute a designation of the information,              document or thing as
   Confidential and/or Highly Confidential-Attorneys’ Eyes Only under this Stipulated Protective
   Order.
            19.   Inadvertent Disclosure of Privileged Information: Pursuant to Federal Rule of
   Evidence 502(b), inadvertent production of documents or information subject to attorney-
   client privilege or work-product immunity shall not constitute a waiver of such privilege(s).
   Inadvertent production of such documents or information shall be handled as follows,
   without prejudice to the right of any Party to apply to the Court for further protection or
   disclosure relating to discovery:
                  a.      Immediately upon receiving notice from the Producing Party that
   documents or materials subject to the attorney-client privilege or work-product immunity have
   been inadvertently produced, the Receiving Party shall not review, copy, or otherwise
   disseminate the documents or materials, or disclose their substance. In addition, the Receiving
   Party shall sequester the documents or materials and all copies within five business days from
   receiving notice.
                  b.      If the Receiving Party believes that it has a good-faith basis for
   challenging the claim of privilege or work product immunity, counsel for the Receiving Party
   shall provide counsel for the Producing Party with a written explanation of the good-faith basis
   for that challenge within ten (10) business days after receipt of the Producing Party’s request for
   sequester. Such explanation shall not delay the initial sequester obligation. If the parties are unable
   to resolve the matter, the Receiving Party may raise the issue with the court, as provided in Fed.
   R. Civ. P. 26(b)(5)(B). On such a motion, the Producing Party shall have the burden of proving
   that the inadvertently produced documents or materials are privileged or immune from discovery.

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                                             Exhibit A
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION

                                     CASE NO. 9:17-cv-80499-RLR

   COMPULIFE SOFTWARE, INC.,

          Plaintiff,

   v.

   ONE RESOURCE GROUP CORPORATION,
   ANTHONY WILSON, TODD STEWART, et al.

          Defendants.
                                                          /

                  ACKNOWLEDGEMENT AND AGREEMENT TO BE BOUND

   I, _____________________________, declare that:

   1.      I have received a copy of the Stipulated Confidentiality and Protective Order ("Protective
           Order") in this Action.
   2.      I have carefully read and understand the provisions of this Protective Order and I agree to
           abide by its terms.
   3.      I will hold in confidence, will not disclose to anyone other than those persons specifically
           authorized by the Protective Order, and will not copy or use for purposes other than for
           this Action any information designated "Confidential" or “Highly Confidential-
           Attorney’s Eyes Only” in accordance with the Protective Order.
   4.      I agree that at the conclusion of the litigation, I will return all confidential information to
           the party or attorney from whom I received it.
   5.      I agree to subject myself personally to the jurisdiction of this Court for the purpose of
           proceedings relating to my performance under, compliance with or violation of the
           Protective Order.
   6.      I understand that disclosure of information designated "Confidential" or “Highly
           Confidential-Attorney’s Eyes Only” in violation of the Protective Order may constitute
           contempt of court.
   I declare under penalty of perjury that the foregoing is true and correct.



   ___________________________                    ___________________________
   Date                                           Signature


                                                     10
